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        Exhibit C
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From: willis44nfl@aol.com [mailto:willis44nfl@aol.com]
Sent: Wednesday, May 17, 2017 7:48 PM
To: TerriAnne Benedetto <TBenedetto@seegerweiss.com>
Subject: Letter

May 17, 2017

TerriAnne Benedetto
Seeger Weiss LLP
1515 Market Street
Suite 1380
Philadelphia, PA 19102

Dear Terry,

As per your request, here is the law firm that sent out the letter, if you read it, according to this information released by Locks Law,
I don't see where my letter was misleading in any way, I am ready to comply regarding any misinformation? And please note, any
letter I send out now or in the future is reviewed and approved by my legal council.

Regards,

Fred Willis




                                                                   1
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